    AO 450 (Rev. 10/09) Judgment in a Civil Action
              USDC IN/ND case 2:13-cv-00190-RLM-PRC document 5 filed 06/06/13 page 1 of 2
                                                      UNITED STATED DISTRICT COURT
                                                      NORTHERN DISTRICT OF INDIANA


                       ROBERT SZANYI                              )
                             Plaintiff(s)                         )
                                                                  )      Civil Action No. 2:13 CV 190 RLM
                                  V.
        STATE OF INDIANA, MEDICAID and                            )

       INDIANA FAMILY SOCIAL SERVICES                             )

                             Defendant(s)                         )


                                                 JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):
    the plaintiff(s)                                                                                              recover from
the defendant(s)                                                                                                  the amount of

                                                                                       dollars ($              ), which includes
prejudgment interest at the rate of                  %, plus postjudgment interest at the rate of          %, along with costs.

    the plaintiff(s) recover nothing, the action to be dismissed on the merits, and the defendant(s)
                                                               recover costs from the plaintiff(s)
                                                                                                           .

    other: This case is DISMISSED WITHOUT PREJUDICE.




This action was (check one):
   tried by a jury with Judge                                                   presiding, and the jury has rendered a verdict.

   tried by Judge                                                        without a jury and the above decision was reached.

   decided by Judge Robert L. Miller, Jr.                                    on a motion for



                                                                                                                              .
Date   June 06, 2013                        CLERK OF COURT
        USDC IN/ND case 2:13-cv-00190-RLM-PRC document 5 filed 06/06/13 page 2 of 2
                                                            /s/ K Pastrick

                                                 Signature of Clerk or Deputy Clerk
